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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                        CASE NO. 21-62516


  THE COLOMBIAN AIR FORCE                         )
  PURCHASING AGENCY, a Miscellaneous              )
  Foreign Government Organization,                )
                                                  )
                 Plaintiff,                       )
                                                  )
         v.                                       )
                                                  )
  UNION TEMPORAL OVL CVRA                         )
  HELICOPTEROS 2018, LLC, a Wisconsin             )
  limited liability company, OPTIMUM              )
  VEHICLE LOGISTICS LLC, a Wisconsin              )
  limited liability company, and CVRA             )
  AERONAUTICAL LLC, a Florida limited             )
  liability company,                              )
                                                  )
                 Defendants.                      )
                                                  )

                                           COMPLAINT

         Plaintiff The Colombian Air Force Purchasing Agency (“ACOFA” or “Plaintiff”) sues

  Union Temporal OVL CVRA Helicopteros 2018, LLC (“UT OVL”), Optimum Vehicle Logistics

  LLC (“OVL”), and CVRA Aeronautical LLC (“CVRA”) (UT OVL, OVL, and CVRA are

  collectively referred to as “Defendants”) and states as follows:

                              PARTIES, JURISDICTION, AND VENUE

         1.      Plaintiff is a foreign governmental entity duly authorized by the United States

  Department of State to operate as a Miscellaneous Foreign Government Organization having its

  principal place of business in Fort Lauderdale, Broward County, Florida.

         2.      Defendant UT OVL is a Wisconsin limited liability company with its principal

  place of business in Milwaukee, Wisconsin.
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          3.      Defendant OVL is a Wisconsin limited liability company with its principal place of

  business in Milwaukee, Wisconsin.

          4.      Defendant CVRA is a Florida limited liability company with its principal place of

  business in Pompano Beach, Broward County, Florida.

          5.      This Court has original subject matter jurisdiction over this matter pursuant to 28

  U.S.C. § 1331. Specifically, ACOFA brings claims under the federal Racketeer Influenced Corrupt

  Organizations Act, 18 U.S.C. § 1962 et seq., and under the Magnuson-Moss Warranty Act (the

  “Act”), 15 U.S.C. § 2301 et seq., and has met the required amount in controversy of at least

  $50,000.00 pursuant to the 15 U.S.C. § 2310(d)(3)(B) of the Act.

          6.      Alternatively, the Court has subject matter jurisdiction over this matter due to

  diversity of citizenship because the “matter in controversy exceeds the sum or value of $75,000.00,

  exclusive of interest and costs, and is between . . . a foreign state, defined in section 1603(a) of

  this title, as plaintiff and citizens of a State or different States.” 28 U.S.C. § 1332(a)(4).

          7.      This Court has personal jurisdiction over Defendant UT OVL because Defendant

  conducts substantial and not isolated business activity in Florida, and because Defendant UT OVL

  breached a contract in Florida that is governed by and construed in accordance with the laws of

  the State of Florida. The Court also has personal jurisdiction over Defendant UT OVL because UT

  OVL has through its agents engaged in one or more of the acts enumerated and described in Section

  48.193, Florida Statutes.

          8.      This Court has personal jurisdiction over Defendant OVL because Defendant OVL

  conducts substantial and not isolated business activity in Florida, and because Defendant OVL

  breached a contract in Florida that is governed by and construed in accordance with the laws of

  the State of Florida. The Court also has personal jurisdiction over Defendant OVL because OVL



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  has through its agents engaged in one or more of the acts enumerated and described in Section

  48.193, Florida Statutes.

          9.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2) because a

  substantial part of the events giving rise to the claim occurred in this district.

                                     GENERAL ALLEGATIONS

  A.      ACOFA and the Defendants

          10.     ACOFA is a Colombian governmental agency tasked by the Republic of Colombia

  with purchasing aeronautical and defense equipment and services for the different branches of the

  Colombian Ministry of National Defense, including the Armada Nacional de Colombia (the

  “Colombian Navy”) and the Dirección General Marítima (“DIMAR”), which are the relevant

  military entities here. ACOFA’s principal offices are located in this District and ACOFA

  communicated with Defendants through its offices in this District.

          11.     Because ACOFA secures contracts for various entities that comprise of the

  Colombian Ministry of National Defense, these contracts are highly sought after and each

  invitation to bid receives numerous submissions from leading manufacturers and suppliers globally.

          12.     UT OVL’s members are OVL and CVRA.

          13.     OVL describes itself as a “world leader” having a 20,000 square foot facility in

  Wisconsin, boasting a combined 100-plus years of experience with foreign governments across its

  executive team, and identifying itself as the 2014 recipient of the Small Business Administration’s

  exporter of the year award. See OVL Company Video, https://www.optimumvl.com/company-

  video/ (last visited October 18, 2021).

          14.     OVL partnered with CVRA for the purpose of bidding on and hopefully securing a

  contract with ACOFA.



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  B.     The Bid Process

         15.     In 2018, ACOFA was in the market for two used helicopters and as a result invited

  vendors to place bids in order to win contracts with the Colombian Navy and DIMAR. Those

  vendors wishing to submit bids were required to submit responses to an invitation to bid

  (“Invitation to Bid”). The Invitation to Bid specified, among other things, the technical

  requirements of the helicopters and required representations by the vendor whether its bid would

  comply with such specifications.

         16.     In response to the Invitation to Bid, a number of companies responded, including

  Defendant UT OVL. In UT OVL’s Bid Response dated June 14, 2018, UT OVL advised that UT

  OVL was comprised of Defendants CVRA and OVL and advised ACOFA that both CVRA and

  OVL were two companies that were registered and authorized by ACOFA to participate in the bid

  process. In UT OVL’s Bid Response, UT OVL, CVRA, and OVL represented that the two

  helicopters that Defendants were saying were responsive to the Invitation to Bid, Helicopter 6687

  and Helicopter 6690, met all of the technical requirements of the Invitation to Bid.

         17.     UT OVL also further stated in UT OVL’s Bid Response that UT OVL had been

  formed by Defendants CVRA and OVL for the purposes of seeking award of the bid and executing

  the contract if chosen by ACOFA. UT OVL further advised ACOFA that the main legal

  representative of UT OVL for the purpose of any anticipated transaction related to the Invitation

  to Bid would be Defendant CVRA. ACOFA was advised that CVRA was providing the experience,

  capital, execution, delivery of and services relating to the contract. Defendant OVL was identified

  by UT OVL as the alternate legal representative of UT OVL. ACOFA was advised that OVL was

  providing the raw material, its experience, and its facilities for the contract.

         18.     Notably, UT OVL advised ACOFA in UT OVL’s Bid Response that Defendants



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  CVRA and OVL would respond to any contractual and non-contractual breaches of a contract

  between UT OVL and ACOFA and that Defendants CVRA and OVL would be liable for all of

  UT OVL’s obligations per UT OVL’s Bid Response and any contractual agreements entered into

  between ACOFA and UT OVL in the event that ACOFA awarded the contract or contracts to UT

  OVL.

         19.     Based on UT OVL’s Bid Response, and taking into consideration UT OVL’s

  representation that CVRA and OVL would be responsible for any requirements under contracts

  entered into between ACOFA and UT OVL, ACOFA awarded the contracts to UT OVL. As a

  result, UT OVL and ACOFA entered into two separate contracts, one for each helicopter.

  C.     The Contracts

         20.     The first contract was titled Purchase Nro. 008 ACOFA ARC/2018, dated

  September 27, 2018, with a final delivery date of December 14, 2018, for the purchase of a

  “navalised” AS365N3 helicopter for the price of $6,295,772.00. See Ex. 1 (“Contract No. 008”).

  The helicopter purchased by ACOFA from UT OVL under Contract No. 008 is referred to as

  Helicopter 251 (“Helicopter 251”).

         21.     The second contract was titled Purchase Nro. 015 ACOFA ARC/2018, dated

  October 29, 2018, with a final delivery date of December 21, 2018, for the purchase of a “navalised”

  AS365N3 helicopter for the price of $6,018,417.00. See Ex. 2 (“Contract No. 015”). The helicopter

  purchased pursuant to Contract No. 015 is referred to as Helicopter 252 (“Helicopter 252”)

  (collectively, Helicopter 251 and Helicopter 252 are referred to as the “UT OVL Helicopters”)

  (collectively, Contract No. 008 and Contract No. 015 are referred to as the “Contracts”).

         22.     Pursuant to the Contracts, UT OVL was required to comply with certain technical

  specifications and was also required to provide certain documentation that substantiated



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  airworthiness, including airworthiness certificates and aircraft registration certificates, specifically

  FAA/EASA Aircraft Registration Certificates. See Ex. 1 at ¶13(d); Ex. 2 at ¶ 13(d).

         23.     The Contracts also required that “[t]he obligation of the seller under the warranty

  shall include the repair or at its option to replace the items that are returned for non-conformity of

  acceptance, all costs of packaging, transportation, export and import shall be paid by the seller.

  See Ex. 1 at ¶ 23; Ex. 2 at ¶ 23.

  D.      Failure to Comply with Technical Specifications

          24.     Upon receipt of the UT OVL Helicopters, Colombian Navy the UT OVL

  Helicopters. After performing the initial inspection, Colombian Navy personnel advised ACOFA

  of a number of areas of non-compliance of the UT OVL Helicopters. Colombian Navy personnel

  advised ACOFA that the reports regarding non-compliance with technical specifications were

  delivered to UT OVL and that UT OVL was in the process of fixing the non-compliance issues.

                                             Helicopter 251

         Issue                              Repair Required/Estimated Cost
                                            (Per the terms of the Contracts, UT OVL may either
                                            repair or replace the defective component)

    1.   MODULE NOs. 2, 3, 4, AND           REPLACE OR REPAIR
         5 OF ENGINE NO. 1 (S/N
         24286) PRESENT                     MOD. 2 $99,086.00
         AVAILABILITY OF 1915.9             MOD. 3 $354,420.00
         FLIGHT HOURS,                      MOD. 4 $108,459.00
         CORRESPONDING TO                   MOD. 5 $70,560.00
         54.74% OF TBO

    2.   MODULE NOs. 1, 3, 4 AND            REPAIR OR REPLACE
         5 OF MOTOR NO. 2 (S/N
         24243) PRESENT                     MOD. 1 $49,955.00
         AVAILABILITY OF 2200.7             MOD. 3 $354,420.00
         FLIGHT HOURS,                      MOD. 4 $108,459.00
         CORRESPONDING TO                   MOD. 5 $70,560.00
         62.88% OF TBO



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   3.   HOURS AVAILABLE FOR      REPAIR OF REPLACE
        OVERHAUL OF
        TRANSMISSION: OR
        NEW: 2,150 HORAS ARE
        SPECIFIED IN THE
        CONTRACT AND
        ACCORDING TO
        VERIFICATION OF THE
        HISTORICAL REGISTER,
        THE LARGEST
        COMPONENT HAS ONLY
        1,913 HOURS AVAILABLE,
        WHICH CORRESPONDS
        TO THE REMAINING
        63.76% OF THE 3,000
        HOURS TO TBO, ALSO A
        BREACH OF ITEM 19 OF
        TECHNICAL APPENDIX
        “A” OF THE CONTRACT

   4.   NO PHYSICAL MANUALS      SUPPLY OF MAINTENANCE AND OPERATION
        WERE DELIVERED, ONLY     MANUALS IN PHYSICAL FOR EACH AIRCRAFT
        AN ONLINE                AND ONLINE SUBSCRIPTION FOR AT LEAST
        SUBSCRIPTION             ONE YEAR




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                                   Helicopter 252

        Issue                     Repair Required/Estimated Cost
                                  (Per the terms of the Contracts, UT OVL may either
                                  repair or replace the defective component)

   1.   MODULE NOs. 1, 3, 4 AND   REPAIR OR REPLACE
        5 OF MOTOR No.1 (S/N
        24376), WHICH PRESENT     MOD. 1 $49,955.00
        AVAILABILITY OF           MOD. 3 $354,420.00
        FLIGHT HOURS (19.82%,     MOD. 4 $108,459.00
        27.08%, 19.82% AND        MOD. 5 $70,560.00
        29.23%) BELOW 65%

   2.   THE MODULE No. 4 OF       REPAIR OR REPLACE
        MOTOR No. 2 (S/N 24306)
        HAS 54.07% OF HOURS
        AVAILABLE FOR
        OVERHAUL, BREACHING
        WHAT IS REQUIRED BY
        THE CONTRACT
        CORRESPONDING TO 65%

   3.   HOURS AVAILABLE TAIL      01 SET OF TAIL ROTOR BLADES NEW P/N
        ROTOR BLADES: OR          365A12-0070-01 AS365N3
        NOVELTY: IN THE
        CONTRACT, 5,000 HOURS
        ARE SPECIFIED AND
        ACCORDING TO THE
        VERIFICATION OF THE
        HISTORICAL REGISTRY,
        THE TAIL ROTOR BLACES
        PRESENT A
        DESCRAPANCY, THUS:
        FIVE (05) BLADES HAVE
        4,458.4 HOURS
        AVAILABLE, AND THE
        OTHER FIVE (05) HAVE
        1,008.4 HOURS
        AVAILABLE. THIS
        CORRESPONDS TO 89%
        AND 20.17%
        RESPECTIVELY OF ITS
        POTENTIAL.




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   4.   MOORING KIT AND                    ONE OVERNIGHT MOORING KIT IS REQUESTED
        OVERNIGHT PROTECTION               FOR THE TWO AIRCRAFT. AS365N3
        ON PLATFORM: OR NEW:               04 MOORING KIT AND OVERNIGHT ARICRAFT
        NOT DELIVERED, ONLY                EMBARKED
        KIT FOR ONE AIRCRAFT               MAIN ROTOR BLADE SOCKS ASSY P/N 365A92-
        RECEIVED (ARC 251)                 1160-01, 08)BLADES COVER ASSY P/N 365A92-
                                           1170-00, 02)COVER MRH P/N 365A92-3140-00,
                                           02)COVER,CABIN (CABLE CUTTER) P/N 365A92-
                                           0045-01, 04)ENGINE COVER P/N 365A92-5460-00,
                                           04)nozzle blanking cover P/N 365A92-5441-00
                                           02)Fenestron cover P/N 365A92-2340-00 P/N
                                           ALTERNO 365A92-2341-02, 04)static port blanking
                                           cap P/N 703A92-0205-04 P/N ALTERNO 703A92-
                                           0205-05, 04)PITOT COVER P/N 703A92-0201-00
   5.   NO PHYSICAL MANUALS                SUPPLY MAINTENANCE AND OPERATION
        WERE DELIVERED, ONLY               MANUALS IN PHYSICAL FOR EACH AIRCRAFT
        AN ONLINE                          AND ONLINE SUBSCRIPTION FOR AT LEAST
        SUBSCRIPTION                       ONE YEAR



         25.     ACOFA advised Defendants of Defendants’ non-compliance with regard to the

  above-listed components/matters on numerous occasions. UT OVL however continuously failed

  to repair or otherwise comply, feeding ACOFA with excuses and otherwise misrepresenting the

  technical specifications of the UT OVL Helicopters.

         26.     As of the filing of this Complaint, Defendants have failed to comply with their

  obligations under the Contracts.

  E.     Failure to Deliver Proper Documentation

         27.     It was later discovered that UT OVL failed to deliver valid airworthiness

  certificates as required by the Contracts for the UT OVL Helicopters. Such absence of valid

  airworthiness certificates renders both UT OVL Helicopters unairworthy and greatly diminishes

  their financial and operational value.

         28.     When ACOFA advised UT OVL of UT OVL’s failure to deliver the documentation

  required under the Contracts, UT OVL instead delivered EASA Permits to Fly. Those documents,


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  however, are not the same as airworthiness certificates. The EASA Permits to Fly have very strict

  limitations and are not considered airworthiness certificates.

         29.     As of the filing of this Complaint, UT OVL has failed to deliver the documentation

  required under the Contracts.

  F.     Failure to Comply with Warranty Requirements under the Contracts

         30.     The Contracts also provide, in addition to the technical specifications, that UT OVL

  would provide ACOFA with the following warranty:

         The seller warrants that the mentioned aircraft will have a guarantee (FOR ALL
         MINOR AND MAIN COMPONENTS OF THE AIRCRAFT INCLUDING
         MOTORS AND AVIONICS) for at least twelve (12) months or 600 flight hours
         counted from the delivery of the goods, whichever comes first. . . . The obligation
         of the seller under the warranty shall include the repair or at its option to replace
         the items that are returned for non-conformity of acceptance, all costs of packaging,
         transportation, export and import shall be paid by the seller. The seller will take the
         necessary steps to collect or replace the product from the buyer’s premises for
         inspection and repair within fifteen (15) days of receipt of the buyer’s warranty
         claim. The seller must replace or repair the defective product within sixty (60) days
         from the date of receipt of the product returned by the buyer or at a mutually agreed
         upon time by the parties. If the seller does not take action in response to the
         warranty claim within the agreed period of time, the seller will reimburse the buyer
         for all costs associated with the replacement or repair of the defective product.

  See Ex. 1 at ¶ 23; Ex. 2 at ¶ 23.

         31.     Pursuant to Paragraph 23 of the Contracts, ACOFA advised UT OVL of warranty

  claims with regard to the following components:

                                            Helicopter 251

         Issue                            Repair Required/Estimated Cost
                                          (Per the terms of the Contracts, UT OVL may either
                                          repair or replace the defective component)

    5.   DOOR LIGHT DOES NOT SWITCH P/N SP3812-00 X P/N SP3814-00 X P/N SP
         TURN OFF            3812-10 X P/N SP3814-10

    6.   FLIGHT DIRECTOR MODE             INVESTIGATE CAUSE OF FAILURE BY A
         NAV-VOR-G/S-V/L DOES             SPECIALIST TECHNICIAN.


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         NOT WORK AND DELAY        ESTIMATED 120 H/H APROX 3 WEEKS
         IN THE OPERATING
         SYSTEM

         MOTOR NO. 2 WITH
         HIGHER FUEL
         CONSUMPTION THAN
         MOTOR NO 1 (REQUIRES
         REGULATION)

         AUTOPILOT   PRESENTS
         ERRATIC OPERATION

         FLIGHT DIRECTOR
         SYSTEM IS INOPERATIVE

         ADI OF CO-PILOT
         PRESENTS INDICATION
         OF 5 DEGREES UP IN
         STRAIGHT AND LEVEL
         FLIGHT

         COLD AIR HANDLER
         DOES NOT SECURE

    7.   FUEL FLOW METER IS        REPAIR P/N 744-082-3
         INOPERATIVE

    8.   GPS INOPERATIVE AND       REPAIR GPS P/N 81440-02-241P X UPGRADE CARD
         WITH OUT-OF-DATE          P/N 81461-12
         CARD


    9.   FUEL PUMP PRESSURE        CARTRIDGE PUMPS P/N P94C16-606 X 4 UNITS
         NO. 4 GIVES NO            REPAIR 01 FUEL PUMP
         INDICATION


    10. INTERNAL                   UPDATE MULTIFUNCTION CARD P/N 066-04035-
        MULTIFUNCTION CARD         0101
        OUTDATED

    11. EXCHANGE FOR LIFE          OVERHAUL OF COMPONENTS
        LIMIT 22-MAR-2019 01
        CENTER TAIL ROTOR
        DRIVE P/N 365A34-6202-05

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    12. EXCHANGE FOR LIFE             OVERHAUL DE COMPONENTS
        LIMIT 22-MAR-2019 CPI
        SYSTEM INTERFACE P/N
        M256A30A1004

    13. TAIL GEAR BOX P/N             OVERHAUL
        365A336000508 S/N M745
        REQUIRES MAJOR
        SERVICE FOR INTERNAL
        DAMAGE

    14. CPI RELEASE UNIT S/N          ACQUIRE NEW EQUIPMENT ELT CPI P/N 503-16-
        753, ELEMENT IS ACTIVE        25 WITH CPI RELEASE UNIT P/N 503-21 X VERIFY
        DURING THE AIRCRAFT           CONDITION OF BATTERIES.
        IGNITION

    15. FLOTATION SYSTEM, 07          REQUIRE OVERHAUL – THE DOCUMENTATION
        SYSTEM ELEMENTS               PRESENTS DISCREPANCIES IN RELATION TO
        WITHOUT HISTORICAL            THE COMPONENTS INSTALLED IN THE
        RECORD THAT ALLOW             HELICOPTER
        THEIR AIRWORTHINESS
        TO BE DETERMINED.
        FORWARD LH/RH FLOAT
        ASSEMBLY
        CYLINDER ASSEMBLY
        LH/RH
        AFT LH / RH FLOATS
        LIFE RAFT


                                       Helicopter 252

         Issue/Type of Breach         Repair Required/Estimated Cost
                                      (Per the terms of the Contract, UT OVL may either
                                      repair or replace the defective component)

    6.   LANDING GEAR           DOES ACQUIRE LEVER ASSY P/N 19350
         NOT RETRACT


    7.   FUEL FLOWMETER GIVES         EQUIPMENT REQUIRES REPAIR P/N 744-082-3
         WRONG INDICATION


    8.   RADIO No .2 DOES NOT         EQUIPMENT REQUIRES REPAIR RADIO KTR908
         TRANSMIT                     P/N 064-1023-00

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    9.   LANDING GEAR            ACQUIRE PANEL P/N 455TS01Y
         WARNING LIGHTS DO
         NOT WORK

    10. AUTOPILOT DOES NOT       INVESTIGATE CAUSE OF FAILURE BY A
        TEST                     SPECIALIST TECHNICIAN.

         HYD ISOLATE DOES NOT
         TURN ON THE SERVO
         LIGHT DURING THE TEST
         PUSH BOTTOM FAV DOES
         NOT OPERATE (DATA
         SYSTEM AND MOTOR
         FAULTS)

         BUTTONS VOR, NAV, BC
         VL, ILS DO NOT ENGAGE
         ON THE FLIGHT
         DIRECTOR - AUTOPILOT

    11. GPS WITH INDICATIONS     REPAIR GPS P/N 81440-02-241P X UPDATE CARD
        OF WRONG VELOCITY        P/N 81461-12
        AND DISTANCE

    12. ELT INOPERATIVE          ACQUIRE NEW EQUIPMENT ELT CPI P/N 503-16-
                                 25 WITH CPI RELEASE UNIT P/N 503-21 X VERIFY
                                 STATUS OF BATTERIES

    13. INSPECT AT ALL COSTS     REQUIRE COMPLIANCE, WORK INSPECTION,
        OF THE TWO ARRIEL 2C     CERTIFICATION, PRESERVATION, FACTORY.
        ENGINES S/N 24306 AND    (REPORT NOT PROVIDED BY CONTRACTOR)
        24376, TAKING INTO
        ACCOUNT THE
        OBSERVATIONS
        DELIVERED BY THE
        MANUFACTURING
        COMPANY SAFRAN

    14. DELIVERY AND             CRANE LUCAS AIR EQUIPMENT (GOODRICH)
        INSTALLATION OF          P/N 76378-260-D
        RESCUE CRANE
        RETURNED UNDER
        WARRANTY (1.16)




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    15. FLOTATION SYSTEM, 08                REQUIRE OVERHAUL – THE DOCUMENTATION
        SYSTEM ELEMENTS                     PRESENTS DISCREPANCIES IN RELATION TO
        WITHOUT HISTORICAL                  THE COMPONENTS INSTALLED IN THE
        REGISTRATION THAT                   HELICOPTER
        ALLOW THEIR
        AIRWORTHINESS TO BE
        DETERMINED.
        FORWARD LH/RH FLOAT
        ASSEMBLY
        CYLINDER ASSEMBLY
        LH/ RH
        AFT LH / RH FLOATS
        LIFE RAFT LH / RH



          32.     As of the filing of this Complaint, UT OVL has failed to provide warranty services

  as required under the Contracts.

  G.      Failure to Provide Adequate Technical Service Under the Contracts

          33.     The Contracts also required that UT OVL provide a field service representative

  who would be on-location in Barranquilla, Colombia. See Ex. 1 at ¶ 27(c); Ex. 2 at ¶ 27(c).

          34.     It was later learned during an inspection of the UT OVL Helicopters conducted

  prior to the filing of this lawsuit that Defendants’ technical representative was an individual by the

  name of Richard Carpenter who advised that he had extensive experience with the AS365

  helicopter, the type of helicopter that ACOFA purchased under the Contracts.

          35.     A major failure that Helicopter 251 was experiencing in breach of the Contract No..

  008 was an issue with tail rotor gearbox part number 365A33600508, revision M, serial number

  M745 (the “251 Tail Rotor Gearbox”). In May 2019, Helicopter 251 experienced a tail rotor pitch

  control which required the pilot to conduct an emergency landing. While Helicopter 251 was safely

  landed, a loss of tail rotor control can result in catastrophic loss of the aircraft and crew.

          36.     Since 2011, the 251 Tail Rotor Gearbox has had recurring Airbus Alert Service



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  Bulletins (“ASB”) issued. The ASBs have been superseded from time to time prior to ACOFA’s

  purchase of the UT OVL Helicopters from UT OVL. Despite this, it was discovered by ACOFA

  prior to the filing of this lawsuit that the 251 Tail Rotor Gearbox was not in compliance with a

  number of the ASBs applicable to the 251 Tail Rotor Gearbox.

          37.   With Mr. Carpenter having extensive experience with the AS365 helicopter

  through his years with the U.S. Coast Guard and the Dauphin helicopter, UT OVL knew or should

  have known about the recurring ASBs and airworthiness directive inspection requirements and

  was required to have advised ACOFA that the 251 Tail Rotor Gearbox was not in compliance and

  therefore posed a substantial and catastrophic risk of loss of the aircraft and crew onboard the

  aircraft.

          38.   The technical service provided by UT OVL did not comply with the terms of the

  Contracts.

  H.      Additional Misrepresentations by UT OVL

          39.   As ACOFA continued to work through issues it was experiencing with the UT OVL

  Helicopters, ACOFA was also advised by Safran, the manufacturer of the engines of the UT OVL

  Helicopters that, despite representation by UT OVL to the contrary in UT OVL’s Bid Response,

  and despite the agreed-to technical specifications contained with the Contracts, Safran had found

  discrepancies in the engine logbook maintenance records from November 2015 to November 2018

  for the engines of the UT OVL Helicopters. See Ex. 3. Specifically, Safran advised ACOFA that

  “[u]ntil the present date, SAFRAN Helicopter Engines has not received any maintenance records

  confirming the storage procedures during the concerned period were strictly applied on these two

  engines in accordance with the Maintenance Manual instructions.” Id.

          40.   UT OVL purposely omitted this information regarding the storage of the UT OVL



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  Helicopters in order to coerce ACOFA to enter into the Contracts. UT OVL has not corrected this

  or otherwise attempted to rectify its breach of the Contracts.

  I.        Failure to Comply with Section 27(c) of the Contracts

            41.   Section 27(c) of the Contracts required UT OVL to provide industrial compensation

  upon request for same by the Ministry of National Defense for the government of Colombia. See

  Ex. 1 at ¶ 27(c); Ex. 2 at ¶ 27(c).

            42.   Despite repeated requests by ACOFA, UT OVL failed to comply with Section 27(c)

  of the Contracts.

  J.        Pre-Suit Requirements

            43.   ACOFA attempted to work with Defendants in order to remedy the countless and

  substantial problems with the UT OVL Helicopters, including, but not limited to, sending multiple

  letters demanding that Defendants remedy, per the terms of the Contracts, the various issues

  associated with Helicopter 251 and Helicopter 252. However, to date, Defendants have refused to

  take any responsibility for their misrepresentations dating back to the submission of the UT OVL

  Bid Response.

            44.   All conditions precedent have occurred, been waived, or would otherwise be futile

  to perform.

   COUNT I – VIOLATION OF 18 USC 1962(c), THE RACKETEER INFLUENCED AND
                   CORRUPT ORGANIZATION ACT (“RICO”)
                         (ACOFA v. CVRA and OVL)

            45.   ACOFA incorporates by reference Paragraphs 1-44 as if they were fully set forth

  herein.

            46.   CVRA and OVL (the “CVRA OVL Defendants”) are “persons” as that term is

  defined in 18 U.S.C. § 1961(3).



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         47.     The CVRA OVL Defendants violated 18 U.S.C. § 1962(c) by participating in or

  conducting the affairs of the UT OVL RICO Enterprise (defined below) through a pattern of

  racketeering activity.

         48.     ACOFA is a “person injured in his or her business or property” by reason of

  Defendants’ violation of RICO within the meaning of 18 U.S.C. § 1964(c).

  The UT OVL RICO Enterprise

         49.     The following persons and others presently unknown have been members and

  constitute an “association-in-fact” enterprise within the meaning of RICO, and will be referred to

  herein collectively as the UT OVL Enterprise:

                 a.        CVRA provided the experience, capital, execution, delivery of and services

         relating to the Contracts, See Ex. 2; and

                 b.        OVL provided the raw material, its experience, and its facilities for the

         Contracts and was the alternate legal representative of UT OVL. Id.

         50.     The UT OVL Enterprise, which engaged in, and whose activities affected interstate

  commerce, is an association-in-fact of corporate entities within the meaning of 18 U.S.C. § 1961(4),

  and it consists of “persons” associated together for a common purpose. The UT OVL Enterprise

  had an ongoing organization with an ascertainable structure and functioned as a continuing unit

  with separate roles and responsibilities, and it directly engaged in the distribution of goods and

  services in interstate commerce.

         51.     While the CVRA OVL Defendants participated in the conduct of the UT OVL

  Enterprise, they each had an existence separate and distinct from the UT OVL Enterprise. Further,

  the UT OVL Enterprise was separate and distinct from the pattern of racketeering in which the

  CVRA OVL Defendants have engaged.



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         52.     At all relevant times, the CVRA OVL Defendants primarily operated, controlled,

  or managed the UT OVL Enterprise, through a variety of actions. The CVRA OVL Defendants’

  participation in the UT OVL Enterprise was necessary for the successful operation of its scheme

  to defraud because the CVRA OVL Defendants concealed the nature and scope of the Helicopters’

  problems and profited from such concealment.

         53.     The members of the UT OVL Enterprise all served a common purpose: to sell to

  ACOFA the defective UT OVL Helicopters in order to maximize the revenue and profitability of

  the CVRA OVL Defendants and to coerce ACOFA to award the Contracts to UT OVL by claiming

  that OVL and CVRA would be directly held responsible for any and all conduct under the

  Contracts.

         54.     The members of the UT OVL Enterprise shared the profits generated by the

  enterprise, i.e., by sharing the benefit derived from the revenue generated by the scheme to defraud.

  Each member of the UT OVL Enterprise benefited from the common purpose: CVRA and OVL

  each benefitted financially by UT OVL securing the Contracts with ACOFA.

  The Pattern of Racketeering Activity

         55.     The CVRA OVL Defendants each conducted and participated in the conduct of the

  affairs of the UT OVL Enterprise through a pattern of racketeering activity that has lasted at least

  over 3 years and that consisted of numerous and repeated violations of the federal mail and wire

  fraud statutes, which prohibit the use of any interstate or foreign mail or wire facility for the

  purpose of executing a scheme to defraud, in violation of 18 U.S.C. §§ 1341 and 1343.

         56.     For both of the CVRA OVL Defendants, the purpose of the scheme to defraud was

  to conceal the scope and nature of the deficiencies of the Helicopters in order to secure highly

  lucrative contracts with ACOFA.



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         57.     As detailed in the factual allegations above, the CVRA OVL Defendants were well

  aware that the UT OVL Helicopters did not comply with the various regulations and technical

  specifications both required by law and under the Contracts.

  The Predicate Acts of Mail and Wire Fraud

         58.     To carry out or attempt to carry out the scheme to defraud, the CVRA OVL

  Defendants have conducted or participated in the conduct of the affairs of the UT OVL Enterprise

  through the following pattern of racketeering activity that employed the use of mail and wire

  facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud):

                 a.      The CVRA OVL Defendants devised and furthered the scheme to defraud

         by use of the mail, telephone, and internet and transmitted or caused to be transmitted by

         means of mail and wire communication travelling in interstate or foreign commerce,

         writing(s) and/or signal(s), including through communications with one another and with

         ACOFA;

                 b.      The CVRA OVL Defendants utilized the interstate and international mail

         and wires for the purpose of obtaining money or property by means of the omissions, false

         pretense, and misrepresentations described herein. From at least 2018 to the present, the

         CVRA OVL Defendants regularly utilized the interstate and international mail and wires

         for payments from Florida and Wisconsin.

         59.     CVRA OVL Defendants’ pattern of racketeering activity in violation of the mail

  and wire fraud statutes include but is not limited to the following:

                 a.      During the relevant time period, the CVRA OVL Defendants transmitted or

         caused to be transmitted (which herein after also means that the CVRA OVL Defendants

         acted with knowledge that the use of the interstate or foreign mails and/or wires would



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         follow in the ordinary course of business, or such use was reasonably foreseeable) by

         means of mail and/or wire communications travelling in interstate commerce, between

         Colombia, Florida, and Wisconsin concerning the defective UT OVL Helicopters, such

         communications including the following:

                       i.       Submitting UT OVL’s Bid Response;

                     ii.        Signing the Contracts;

                     iii.       Transmitting numerous communications to ACOFA including

                communications misrepresenting the nature of the documentation submitted by UT

                OVL regarding the UT OVL Helicopters and misrepresenting the compliance (or

                non-compliance) of the UT OVL Helicopters with the technical specifications of

                the Contracts; and

                     iv.        CVRA receiving monies via wire transfer into CVRA’s JP Morgan

                Chase account from UT OVL from the Contracts totaling over $1.7 million from

                October 2018 to March 2019 which were the payments from ACOFA to UT OVL,

                see Ex. 1 at ¶ 19; Ex. 2 at ¶ 19.

         60.    The CVRA OVL Defendants’ conduct in furtherance of this scheme was intentional.

  The CVRA OVL Defendants intended for ACOFA to rely on their misrepresentations that the UT

  OVL Helicopters complied with all technical specifications and other requirements under the

  Contracts. The CVRA OVL Defendants also intended for ACOFA to rely on their

  misrepresentation that CVRA and OVL would be directly responsible under the Contracts, even

  though it was recently discovered that CVRA filed for Chapter 11 Bankruptcy on October 30,

  2018, just one day after ACOFA and UT OVL executed Contract No. 015.

         61.    ACOFA, through its reliance on the CVRA OVL Defendants’ misrepresentations,



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  was directly harmed as a result of the CVRA OVL Defendants’ intentional conduct.

         62.     As described throughout this Complaint, the CVRA OVL Defendants engaged in a

  pattern of related and continuous predicate acts for at least the past 3 years. The predicate acts

  constituted a variety of unlawful activities, each conducted with the common purpose of

  defrauding ACOFA and obtaining a substantial sum of money from ACOFA. The predicate acts

  had the same or similar results, participants, and intended victim. Such predicate acts were related

  and were not isolated events.

         63.     The predicate acts all had the purpose of generating significant revenue and profits for

  the CVRA OVL Defendants and the UT OVL Enterprise at the significant expense of ACOFA. The

  predicate acts were committed or caused to be committed by the CVRA OVL Defendants through their

  participation in the UT OVL Enterprise and in furtherance of its fraudulent scheme. The predicate acts

  were interrelated in that they involved securing the Contracts with ACOFA and obtaining significant

  funds from ACOFA.

  Injury to ACOFA

         64.     The CVRA OVL Defendants’ actions and omissions and their pattern of

  racketeering activity has injured ACOFA in the following manner, which is a non-exhaustive list:

                 a.      Payment by ACOFA for two helicopters that did not meet the technical

         requirements of ACOFA; and

                 b.      Depriving ACOFA of having functioning aircrafts necessary for the

         Colombian Navy and DIMAR’s fleet thereby putting national security and the safety of the

         Colombian Navy and DIMAR’s crew and staff at substantial risk.

         65.     The CVRA OVL Defendants’ violations of 18 U.S.C. § 1962(c) were committed

  with the specific intent to defraud and as a result ACOFA is entitled to treble damages, equitable

  relief, and costs and reasonable attorneys’ fees under 18 U.S.C. § 1964.

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            WHEREFORE, ACOFA demands judgment against CVRA and OVL for monetary

  damages, compensatory damages, statutory damages, punitive damages, treble damages, interest,

  attorneys’ fees, costs, and such other relief as the Court deems just and proper.

                  COUNT II – BREACH OF MAGNUSON-MOSS WARRANTY ACT
                                    (ACOFA v. UT OVL)

            66.     ACOFA incorporates by reference Paragraphs 1-44 as if they were fully set forth

  herein.

            67.     The UT OVL Helicopters are consumer products within the meaning of the

  Magnuson-Moss Warranty Act, 15 U.S.C. § 2301 et seq. (previously defined herein as the “Act”).

            68.     UT OVL is a “supplier” within the meaning of the Act.

            69.     ACOFA is a “consumer” within the meaning of the Act.

            70.     UT OVL expressly warranted that the UT OVL Helicopters being sold to ACOFA

  complied with the technical requirements of the Contracts.

            71.     Within the time period covered by the express warranty in the Contracts, the

  Helicopters experienced numerous technical failures as alleged above.

            72.     The defects of the UT OVL Helicopters have grounded the two UT OVL

  Helicopters and as a result substantially reduced their value.

            73.     At all times material to this lawsuit, ACOFA has fully complied with all warranty

  terms, express or implied, in connection with the UT OVL Helicopters and their components.

            74.     Demand has been made upon UT OVL to repair the defective helicopters as

  required by the Contracts. Despite such demand being made, UT OVL has failed to make the

  required repairs.

            75.     As a direct and proximate result of UT OVL’s actions, ACOFA has been damaged.

            WHEREFORE, ACOFA demands judgment against UT OVL for monetary damages,


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  compensatory damages, statutory damages, interest, attorneys’ fees, costs, and such other relief as

  the Court deems just and proper.


                  COUNT III – BREACH OF CONTRACT – CONTRACT NO. 008
                                   (ACOFA v. UT OVL)

            76.    ACOFA incorporates by reference Paragraphs 1-44 as if they were fully set forth

  herein.

            77.    ACOFA and UT OVL entered into Contract No. 008 which was the contract titled

  Purchase Nro. 008 ACOFA ARC/2018, dated September 27, 2018, with a final delivery date of

  December 14, 2018, for the purchase of a “navalised” AS365N3 helicopter for the price of

  $6,295,772.00. See Ex. 1.

            78.    UT OVL breached Contract No. 008 by failing to comply with the technical

  specifications as required, failing to provide certain airworthiness certificates, and failing to

  provide adequate technical support as further alleged in Paragraphs 24-29 and 33-38.

            79.    As a direct result of UT OVL’s breach, ACOFA has been damaged in a principal

  amount in excess of $3,020,181.36.

            WHEREFORE, ACOFA demands judgment against UT OVL for monetary damages,

  compensatory damages, interest, attorneys’ fees pursuant to Section 34 of Contract No. 008, costs,

  and such other relief as the Court deems just and proper.

                  COUNT IV – BREACH OF CONTRACT – CONTRACT NO. 015
                                  (ACOFA v. UT OVL)

            80.    ACOFA incorporates by reference Paragraphs 1-44 as if they were fully set forth

  herein.

            81.    ACOFA and UT OVL entered into Contract No. 015, which was the contract titled

  Purchase Nro. 015 ACOFA ARC/2018, dated October 29, 2018, with a final delivery date of


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  December 21, 2018, for the purchase of a “navalised” AS365N3 helicopter for the price of

  $6,018,417.00. See Ex. 2.

            82.   UT OVL breached Contract No. 015 by failing to comply with the technical

  specifications as required, failing to provide certain airworthiness certificates, and failing to

  provide adequate technical support as further alleged in Paragraphs 24-29 and 33-38.

            83.   As a direct result of UT OVL’s breach, ACOFA has been damaged in a principal

  amount in excess of $1,536,919.49.

            WHEREFORE, ACOFA demands judgment against UT OVL for monetary damages,

  compensatory damages, interest, attorneys’ fees pursuant to Section 34 of Contract No. 015, costs,

  and such other relief as the Court deems just and proper.

                              COUNT V – BREACH OF WARRANTY
                                     (ACOFA v. UT OVL)

            84.   ACOFA incorporates by reference Paragraphs 1-44 as if they were fully set forth

  herein.

            85.   UT OVL expressly warranted that the UT OVL Helicopters being sold to ACOFA

  complied with the technical requirements of the Contracts.

            86.   Within the time period covered by the express warranty in the Contracts, the

  Helicopters experienced numerous technical failures as alleged above.

            87.   The UT OVL Helicopters’ defects have grounded the two UT OVL Helicopters and

  as a result substantially reduced their value.

            88.   At all times material to this lawsuit, ACOFA has fully complied with all warranty

  terms, express or implied, in connection with the UT OVL Helicopters and their components.

            89.   Demand has been made upon UT OVL to repair the defective Helicopters as

  required by the Contracts. Despite such demand being made, UT OVL has failed to make the


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  required repairs.

            90.   As a direct and proximate result of UT OVL’s actions, ACOFA has been damaged.

            WHEREFORE, ACOFA demands judgment against UT OVL for monetary damages,

  compensatory damages, interest, attorneys’ fees, costs, and such other relief as the Court deems

  just and proper.

                      COUNT VI – NEGLIGENT MISREPRESENTATION
                                   (ACOFA v. UT OVL)

            91.   ACOFA incorporates by reference Paragraphs 1-44 as if they were fully set forth

  herein.

            92.   UT OVL undertook and owed a legal duty to ACOFA to exercise ordinary and

  reasonable care in the course of supplying, distributing, servicing, selling, modifying, repairing,

  upgrading, and maintaining the UT OVL Helicopters.

            93.   UT OVL breached its duties owed to ACOFA by failing to disclose the serious

  defects of the UT OVL Helicopters and representing that the UT OVL Helicopters complied with

  the technical specifications of the Contracts.

            94.   UT OVL was negligent in making statements and omissions concerning the

  capabilities and technical specifications of the UT OVL Helicopters because it should have known

  that the statements and omissions were false.

            95.   In making the statements concerning the capabilities and technical specifications of

  the UT OVL Helicopters, UT OVL intended and expected ACOFA to rely on the statements, or

  such reliance was reasonably foreseeable by UT OVL.

            96.   ACOFA justifiably relied on UT OVL’s false statements and omissions regarding

  the capabilities and technical specifications of the UT OVL Helicopters.

            97.   As a direct and proximate result of UT OVL’s actions, ACOFA has been damaged.


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            WHEREFORE, ACOFA demands judgment against UT OVL for monetary damages,

  compensatory damages, interest, costs, and such other relief as the Court deems just and proper.

                         COUNT VII – FRAUDULENT CONCEALMENT
                            (ACOFA v. UT OVL, CVRA, AND OVL)

            98.    ACOFA incorporates by reference Paragraphs 1-44 as if they were fully set forth

  herein.

            99.    UT OVL, CVRA, and OVL represented to ACOFA that the UT OVL Helicopters

  complied with the technical specifications of the Invitation to Bid.

            100.   UT OVL, CVRA, and OVL also represented to ACOFA that the UT OVL

  Helicopters complied with the Contracts.

            101.   UT OVL, CVRA, and OVL knew or should have known that these representations

  were false. In fact, the technical representative who was placed on site in Barranquilla per the

  terms of the Contracts had extensive experience with the class of helicopters purchased under the

  Contracts and therefore knew or should have known that the UT OVL Helicopters did not meet

  the required technical specifications and were not in compliance with the ASBs applicable to the

  UT OVL Helicopters.

            102.   UT OVL, CVRA, and OVL concealed the fact that the UT OVL Helicopters did

  not comply with the technical specifications of the Contracts and also concealed the fact that the

  documentation provided by them to ACOFA was not the documentation required per the terms of

  the Contracts.

            103.   The concealed information was material to the transactions because had ACOFA

  known the true condition of the UT OVL Helicopters, ACOFA would not have entered into the

  transactions.

            104.   UT OVL, CVRA, and OVL’s concealment was deliberate and knowing and was


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  designed to cause and actually did cause justifiable and detrimental reliance on the part of ACOFA.

            105.   As a direct and proximate result of UT OVL, CVRA, and OVL’s actions, ACOFA

  has been damaged.

            WHEREFORE, ACOFA demands judgment against UT OVL, CVRA, and OVL for

  monetary damages, compensatory damages, interest, attorneys’ fees, costs, and such other relief

  as the Court deems just and proper.

   COUNT VIII – VIOLATION OF THE FLORIDA DECEPTIVE AND UNFAIR TRADE
       PRACTICES ACT, SECTION 501.201, FLA. STAT. ET SEQ. (“FDUTPA”)
                            (ACOFA v. UT OVL)

            106.     ACOFA incorporates by reference Paragraphs 1-44 as if they were fully set forth

  herein.

            107.   ACOFA is a consumer within the meaning of FDUTPA.

            108.   UT OVL is engaged in trade and commerce within the meaning of FDUTPA.

            109.   As further alleged above, UT OVL’s actions were unfair, unconscionable, and

  deceptive. In particular, UT OVL misrepresented that the UT OVL Helicopters met the technical

  specifications required under the Contracts and provided documentation that was not what UT

  OVL represented the documentation to be.

            110.   Furthermore, violations of the federal Magnuson-Moss Warranty Act are per se

  violations of FDUTPA.

            111.   As a direct and proximate cause of UT OVL’s actions, ACOFA has been damaged.

            WHEREFORE, ACOFA demands judgment against UT OVL for monetary damages,

  compensatory damages, interest, attorneys’ fees, costs, and such other relief as the Court deems

  just and proper.

  Dated: December 16, 2021



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